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IN THE UNITED STATES DISTRICT COURT 5
FOR THE NORTHERN DISTRICT OF TEXAS 423 Juv 13 ay g: 59

DALLAS DIVISION

UNITED STATES OF AMERICA, RK Ante
Plaintiff,

v. NO. 3:21-CR-159-N

SHAUN MARQUS ROBINSON,
Defendant.

GOVERNMENT’S OPPOSITION TO MOTION TO DISMISS INDICTMENT

Shaun Marqus Robison moves to dismiss the indictment, claiming that 18
U.S.C. § 922(g)(1) is unconstitutional—on its face—because it: (1) exceeds Congress’s
Commerce Clause authority; and (2) violates the Second Amendment. Both arguments
fail. The first is foreclosed—as Robinson correctly concedes. So, too, is the second
argument. Settled “existing precedent” holds that “criminal prohibitions on felons
(violent or nonviolent) possessing firearms [do] not violate” the Second Amendment.
United States v. Scroggins, 599 F.3d 433, 451 (Sth Cir. 2010). The Supreme Court’s
decision in Bruen'—which excluded from its discussion groups, like felons, historically
disarmed under the Second Amendment—did not disturb that settled precedent.

Further, even if the issue is now open to debate, the Court should reject
Robinson’s argument because: (1) felons are not among the “law abiding” citizens

protected by the Second Amendment; and (2) Bruen’s focus on history and text only

' New York Rifle & Pistol Ass'n v. Bruen, 142 S. Ct. 2111 (2022).
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confirms that Section 922(g)(1) does not run afoul of the Second Amendment.
Robinson’s motion should be denied.
1. Robinson’s Commerce Clause argument is foreclosed.

Robinson acknowledges that his argument under the Commerce Clause is
foreclosed and states that he is only raising it to preserve the issue for further review.
(Dkt. No. 45 at 5-6.) Because the Fifth Circuit has rejected this exact argument, see
United States v. Alcantar, 733 F.3d 143, 145-46 (Sth Cir. 2013), this Court must reject his
invitation to contravene binding precedent, see Team Contractors, L.L.C. v. Waypoint
Nola, L.L.C., 976 F.3d 509, 518 (5th Cir. 2020) (“Under this circuit’s rule of orderliness,
each panel deciding an appeal is bound by Fifth Circuit precedents (as district courts
surely are for other reasons).”) (emphasis added). This Court must therefore deny
Robinson relief on this basis.

Ds Section 922(g)(1) does not violate the Second Amendment.

Robinson’s alternative argument—that Section 922(g)(1) violates the Second
Amendment—is likewise meritless.” (Dkt. No. 45 at 2-5). That argument fails because:
(1) it is foreclosed; (2) felons are not among the People protected by the Second
Amendment; and (3) this Nation’s history confirms that felons can be, consistent with

constitutional protections, disarmed.

2 Robinson only attacks Section 922(d)(1) as facially unconstitutional. (Dkt. No. 45 at 2-5.) He has thus waived any
argument that Section 922(d)(1) is unconstitutional as applied to him. See United States v. Barnes, 953 F.3d 383,
389 (Sth Cir. 2020).
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A. Robinson’s argument is foreclosed.

Robinson argues that Section 922(g)(1) violates the Second Amendment. The
Fifth Circuit has expressly rejected that argument. Scroggins, 599 F.3d at 451; United
States v. Darrington, 351 F.3d 632, 634 (Sth Cir. 2003) (“Section 922(g)(1) does not
violate the Second Amendment.”). In Scroggins, for example, the Fifth Circuit explained
that, “[p]rior to Heller, this circuit had already recognized an individual right to bear
arms, and had determined that criminal prohibitions on felons (violent or nonviolent)
possessing firearms did not violate that right.” /d. (discussing District of Columbia v.
Heller, 554 U.S. 570 (2008).) The Court further explained that “[d]icta in Hedler states
that the opinion should not ‘be taken to cast doubt on long-standing prohibitions on
possession of firearms by felons.’” /d. For those reasons, the Court rejected the
argument that Section 922(g)(1) violates the Second Amendment. /d.

Robinson mistakenly argues that Bruen “upset” Fifth Circuit precedent. (Dkt. No.
45 at 2-3.) As the Fifth Circuit recently recognized, the Supreme Court in Bruen (and
Heller) “exclude[d] from the Court’s discussion groups”—like felons—*‘that have
historically been stripped of their Second Amendment rights.” United States v. Rahimi,
61 F.4th 443, 452 (Sth Cir. 2023). “Bruen’s reference to ‘ordinary, law-abiding citizens’
is no different” than Heller’s reference to “law-abiding, responsible” citizens. Id.
Because Bruen excluded from its discussion felons’ purported rights under the Second
Amendment, see id., that opinion cannot be read to upend decades of settled circuit

precedent upholding Section 922(g)(1). See Alcantar, 733 F.3d at 146 (applying the rule
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of orderliness and explaining that “an intervening change in the law must be unequivocal,
not a mere ‘hint’ of how the Court might rule in the future”).

In fact, to the extent that Bruen overcame Fifth Circuit precedent in this area, it
was in its application of a means-end scrutiny at the second step of the applicable
analysis. See Bruen, 142 S. Ct. at 2125-29. Before Bruen, some Fifth Circuit cases
applied a two-step approach for determining whether a firearm regulation violated the
Second Amendment: “‘the first step [was] to determine whether the challenged law
impinges upon a right protected by the Second Amendment—that is, whether the law
regulates conduct that falls within the scope of the Second Amendment’s guarantee; the
second step [was] to determine whether to apply intermediate or strict scrutiny [i.e.,
means-end scrutiny] to the law, and then determine whether the law survives the proper
level of scrutiny.” See, e.g., NRA of Am. v. Bureau of Alcohol, Tobacco, Firearms, &
Explosives, 700 F.3d 185, 194 (Sth Cir. 2012), abrogated on other grounds by Bruen, 142
S. Ct. at 2127-31. Although Bruen rejected the second step of that framework, Bruen,
142 S. Ct. at 2126-27, it did not significantly alter the first step—assessing whether the
relevant regulation “impinges upon a right protected by the Second Amendment.” NRA
of Am., 700 F.3d at 194; see Bruen, 142 S. Ct. at 2129-30 (assessing first whether “the
Second Amendment’s plain text covers an individual’s conduct”). As the Bruen Court
observed, step one is “broadly consistent” with the text-and-history analysis that the
Supreme Court requires. See Bruen, 142 S. Ct. at 2127 (observing that “[s]tep one of the
[two-step] framework is broadly consistent with Heller, which demands a test rooted in

the Second Amendment’s text, as informed by history”).
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The Fifth Circuit’s substantial jurisprudence upholding Section 922(g)(1) is not
predicated on the kind of means-end scrutiny that Bruen rejected. Rather, the analysis
was premised on an examination of “the Second Amendment’s text, as informed by
history” —that is, the “right to bear arms protected by the Second Amendment” as
“historically understood.” See Darrington, 351 F.3d at 634; see also United States v.
Emerson, 270 F.3d 203, 226 n.21 (Sth Cir. 2001) (citing authorities indicating that
“Colonial and English societies of the eighteenth century” excluded felons from
possessing firearms and that “the Founders” would not have “considered felons within
the common law right to arms or intended to confer any such right upon them”),
abrogated on other grounds by Bruen, 142 8. Ct. at 2127-31. The Fifth Circuit also
based its jurisprudence on the Supreme Court’s statements in Heller, 554 U.S. 570
(2008), indicating that “the central right that the Second Amendment was intended to
protect” was “the right of law-abiding, responsible citizens to use arms in defense of
hearth and home,” NRA of Am., 700 F.3d at 193 (discussing Heller (emphasis added)),
and that “longstanding prohibitions on the possession of firearms by felons” are
“presumptively lawful,” Heller, 554 U.S. 570, 626-27 & n. 26; see United States v.
Anderson, 559 F.3d 348, 352 (Sth Cir. 2009) (“Heller provides no basis for reconsidering
Darrington{’s holding that Section 922(g)(1) does not violate the Second Amendment]”).
And “Bruen’s reference to ‘ordinary, law-abiding citizens’ is no different.” Rahimi, 61
F.4th at 452.

For these reasons, Bruen did not overturn settled Fifth Circuit precedents holding

that Section 922(g)(1) does not violate the Second Amendment. That is why other courts

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in this District have rejected the argument as foreclosed. See United States v. Stewart,
No. 4:23-cr-0105-P, 2023 WL 331353 at *2 (N.D. Tex. May 8, 2023) (holding that Bruen
“did not change [the Fifth Circuit’s] fundamental premise” that “restrictions prohibiting
convicted felons from possessing firearms do not violate the Second Amendment”);
United States v. Mosely, No. 4:23-cv-0041-P, 2023 WL 2777473 at *2 (N.D. Tex. Apr. 4,
2023) (same); United States v. Daniels, No. 1:22-cr-024-H, Dkt. No. 85 at 13 (N.D. Tex.
May 16, 2023) (concluding that “Fifth Circuit precedent expressly forecloses [the
defendant’s] attacks on the constitutionality of Section 922(g)(1)” even after Bruen).

This Court should do the same.

B. Felons, like Robinson, are not among the People protected by the
Second Amendment.

Even if this Court considers the issue anew, it should reject Robinson’s argument
because felons do not fall within “the people” protected by the Second Amendment, a
term that Heller said refers to “members of the political community.” Heller, 554 U.S. at
580; see also Rahimi, 61 F 4th at 452 (explaining that “Bruen’s reference to ‘ordinary,
law-abiding citizens is no different”). As the Fifth Circuit explained in Rahimi, felons are
a group who “have historically been stripped of their Second Amendment rights,” and
“whose disarmament the Founders ‘presumptively’ tolerated or would have tolerated.”
Rahimi, 61 F.4th at 452. Thus, felons fall outside “the overarching class of ‘law-abiding,
responsible citizens’ covered by the Second Amendment.” Jd. at 452 n.6. Therefore, this
Court must reject Robinson’s argument that Section 922(g)(1) violates felons’ Second

Amendment rights.
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Robinson’s rejoinder is unpersuasive. He claims in conclusory fashion that
“alfter conviction, ex-felons are restored to the rights of citizenship and retain their
plaice among ‘the people’ who entitled to the protections” of the Second Amendment.
(Dkt. No. 45 at 3-4.) But Heller and Bruen do not so hold, and Rahimi states the very
opposite. Robinson’s motion does not even cite Rahimi, let alone explain why the Fifth
Circuit was wrong to conclude there that felons fall outside of “the people” protected by
the Second Amendment. See Rahimi, 61 F.4th at 452 n.6. This Court—consistent with
Rahimi—should conclude that felons fall outside “the overarching class of ‘law-abiding,
responsible citizens’ covered by the Second Amendment,” id., meaning that Robinson’s
argument fails.

C. This Nation’s historical tradition confirms that felons can be
dispossessed of firearms.

Even if Bruen upended settled circuit precedent vis-a-vis Section 922(g)(1) (it did
not), and even if felons were among those protected by the Second Amendment (they are
not), this Nation’s historical tradition confirms that felons can be dispossessed of
firearms. Specifically, two types of historical laws support Section 922(g)(1)’s
constitutionality: (1) laws authorizing capital punishment and estate forfeiture for felons;
and (2) laws disarming those deemed untrustworthy based on lack of adherence to the
rule of law.

a. Laws authorizing capital punishment and estate
forfeiture.

For centuries, felonies have been “the most serious category of crime.” Medina v.

Whitaker, 913 F.3d 152, 155, 158 (D.C. Cir. 2019). In 1769, Blackstone defined a felony
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as “an offence which occasions a total forfeiture of either lands, or goods, or both, at the
common law; and to which capital or other punishment may be superadded, according to
the degree of guilt.” 4 William Blackstone, Commentaries on the Laws of England 95
(1st ed. 1769). Blackstone observed that “‘[t]he idea of felony is so generally connected
with that of capital punishment, that we find it hard to separate them.” /d. at 98
(capitalization omitted). Capital punishment and forfeiture of estate were also commonly
authorized punishments in the American colonies (and then the states) up to the time of
the founding. Folajtar v. Attorney General of the U.S., 980 F.3d 897, 904-05 (3d Cir.
2020). Indeed, the First Congress (which drafted and proposed the Second Amendment)
made a variety of felonies punishable by death, including treason, murder on federal land,
forging or counterfeiting a public security, and piracy on the high seas. See An Act for
the Punishment of Certain Crimes Against the United States, 1 Stat. 112-15 (1790). And
many American jurisdictions up through the end of the 1700s authorized forfeiture of a
felon’s estate. See Beth A. Colgan, Reviving the Excessive Fines Clause, 102 Cal. L.
Rev. 277, 332 & nn.275-276 (2014) (citing statutes).

A few examples demonstrate the severe consequences of committing a felony at
the time. In 1788, just three years before the Second Amendment’s ratification, New
York passed a law providing for the death penalty for crimes such as burglary, robbery,
arson, malicious maiming and wounding, and counterfeiting. 2 Laws of the State of New
York Passed at the Sessions of the Legislature (1785-1788) at 664-65 (1886). The act
established that every person convicted of an offense making the person “liable to suffer

death, shall forfeit to the people of this State, all his, or her goods and chattels, and also
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all such lands, tenements, or hereditaments” the person possessed “at the time of any such
offence committed, or at any time after.” /d. at 666. For all other felonies, the authorized
punishment for “the first offence” was a “fine, imprisonment, or corporal punishment,”
and the punishment “for any second offense or felony committed after such first
conviction” was “death.” Jd. at 665.

Two years earlier, New York had passed a law severely punishing counterfeiting
of bills of credit. 2 Laws of the State of New York Passed at the Sessions of the
Legislature (1785-1788) at 260-61 (1886). The law said a counterfeiter “shall be guilty
of felony, and being thereof convicted, shall forfeit all his or her estate both real and
personal to the people of this State, and shall be committed to the bridewell [correction
house] of the city of New York for life, and there confined to hard labor.” Jd. at 261. In
addition, “to prevent escape,” the defendant was to be “branded on the left cheek with the
letter C, with a red hot iron.” /d.

Similarly, in 1777, Virginia adopted a law for the punishment of forgery, which
the legislature believed had previously “ha[d] not a punishment sufficiently exemplary
annexed thereto.” 9 William Waller Hening, Statutes at Large; Being a Collection of All
the Laws of Virginia, from the First Session of the Legislature 302 (1821). The act stated
that anyone convicted of forging, counterfeiting, or presenting for payment a wide range
of forged documents “shall be deemed and holden guilty of felony, shall forfeit his whole
estate, real and personal, shall receive on his bare back, at the publick whipping post,
thirty nine lashes, and shall serve on board some armed vessel in the service of this

commonwealth, without wages, for a term not exceeding seven years.” Jd. at 302-03.
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Throughout the 1700s, other American colonies punished a variety of crimes with death,
estate forfeiture, or both. For example, a 1700 Pennsylvania law provided that any
person convicted of “wilfully firing any man’s house, warehouse, outhouse, barn or
stable, shall forfeit his or her whole estate to the party suffering, and be imprisoned all
their lives in the House of Correction at hard labor.” 2 Statutes at Large of Pennsylvania
from 1682 to 1801 at 12 (1896). A 1705 Pennsylvania law provided that a person
convicted of rape “‘shall forfeit all his estate” if unmarried, and “one-third part thereof” if
married, in addition to receiving 31 lashes and imprisonment for “seven years at hard
labor.” Jd. at 178. A 1715 Maryland law provided that anyone convicted of “corruptly
embezzling, impairing, razing, or altering any will or record” that resulted in injury to
another’s estate or inheritance “shall forfeit all his goods and chattels, lands and
tenements.” 1 The Laws of Maryland[,] With the Charter, The Bill of Rights, the
Constitution of the State, and its Alterations, The Declaration of Independence, and the
Constitution of the United States, and its Amendments 79 (1811).

Further, a 1743 Rhode Island law provided that any person convicted of forging or
counterfeiting bills of credit “be adjudged guilty of Felony” and “suffer the Pains of
Death” and that any person knowingly passing a counterfeit bill be imprisoned, pay
double damages, and “forfeit the remaining Part of his Estate (if any he hath) both real
and personal, to and for the Use of the Colony.” Acts and Laws of The English Colony
of Rhode Island and Providence-Plantations in New-England in America 33-34 (1767).
And a 1750 Massachusetts law provided that rioters who refused to disperse “shall forfeit

all their lands and tenements, goods and chattles [sic],” in addition to receiving 39 lashes

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and one year’s imprisonment. 3 Acts and Resolves, Public and Private, of the Province
of the Massachusetts Bay 545 (1878).

As the D.C. Circuit has observed, “‘it is difficult to conclude that the public, in
1791, would have understood someone facing death and estate forfeiture to be within the
scope of those entitled to possess arms.” Medina, 913 F.3d at 158. Thus, “tradition and
history” show that “those convicted of felonies are not among those entitled to possess
arms” under the Second Amendment. /d. at 158, 160. Indeed, the Eighth Circuit recently
upheld Section 922(g)(1)’s constitutionality because felons are “not law-abiding
citizen[s], and history supports the authority of Congress to prohibit possession of
firearms by persons who have demonstrated disrespect for legal norms of society.”
United States v. Jackson, _ F. 4th _, 2023 WL 3769242 at *6 (8th Cir. 2023).

b. Laws disarming untrustworthy individuals and those
outside the political community.

A second category of historical laws also provides an analogy to felon
disarmament—laws that “categorically disqualified people from possessing firearms
based on a judgment that certain individuals were untrustworthy parties to the nation’s
social compact.” Range v. Attorney General, 53 F .4th 262, 266 (3d Cir. 2022) (per
curiam), vacated upon granting of rehearing en banc, 2023 WL 118469 (Jan. 6, 2023).
In 1689, the same Parliament that “wr[ote] the ‘predecessor to our Second Amendment’
into the 1689 English Bill of Rights,” Bruen, 142 S. Ct. at 2141 (quoting Heller, 554 U.S.

at 593), also passed an “Act for the better secureing the Government by disarming Papists

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and reputed Papists.” 1 W. & M., Sess. 1, ch. 15, 6 Statutes of the Realm 71.3 That Act
provided that any Catholic who refused to make a declaration renouncing his faith could
not possess any “Arms Weapons Gunpowder or Ammunition (other th[a]n such
necessary Weapons as shall be allowed to him by Order of the Justices of the Peace...
for the defence of his House or person).” /d. at 72. The required oath “was a gesture of
allegiance to the English government and an assurance of conformity to its laws.” Range,
53 F.4th at 275.

American colonies enacted similar laws. For example, “several colonies enacted
complete bans on gun ownership by slaves and Native Americans,” based on “alienage or
lack of allegiance to the sovereign.” United States v. Jimenez-Shilon, 34 F.4th 1042,
1047 (11th Cir. 2022) (quotations omitted). And during the French and Indian War,
Virginia passed a law disarming Catholics that allowed them to keep their arms if they
swore an oath of allegiance to the king. 7 Statutes at Large; Being A Collection of All
the Laws of Virginia 35-36 (1820) (1756 law). These laws discriminating based on race
or religion are repugnant and would be unconstitutional today for reasons having nothing
to do with the Second Amendment, but they nevertheless demonstrate that colonial
legislatures “had the power and discretion to use status as a basis for disarmament” even

of non-violent groups. Range, 53 F.4th at 276 n.18.

> Though the statutory compilation identifies this as a 1688 act, it was enacted in 1689. See 14 Journal of
the House of Lords (1685-1691) 208-09 (reflecting enactment on May 11, 1689).

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During the Revolutionary War, Connecticut passed a law providing that any
person who “shall libel or defame” any acts or resolves of the Continental Congress or
the Connecticut General Assembly “made for the defence or security of the rights and
privileges” of the colonies “shall be disarmed and not allowed to have or keep any arms.”
Public Records of the Colony of Connecticut 193 (1890) (1775 law). And, at the
recommendation of the Continental Congress, see 4 Journals of the Continental Congress
205 (1906) (resolution of March 14, 1776), at least six states disarmed the “disaffected”
who refused to take an oath of allegiance to those states, see, e.g., 5 The Acts and
Resolves, Public and Private, of the Province of the Massachusetts Bay 479 (1886) (1776
law); 7 Records of the Colony of Rhode Island and Providence Plantations, in New
England 567 (1776 law); 1 The Public Acts of the General Assembly of North Carolina
231 (1804) (1777 law); 9 Statutes at Large; Being A Collection of All the Laws of
Virginia 282 (1821) (1777 law); Rutgers, New Jersey Session Laws Online, Acts of the
General Assembly of the State of New-Jersey 90 (1777 law); 9 Statutes at Large of
Pennsylvania 348 (1779 law). Again, these laws demonstrate that, at the time of the
founding, legislatures had the authority to disarm even non-violent people whom they
deemed not to be law-abiding and trustworthy. Indeed, as the Fourth Circuit has
observed, there is “substantial evidence that the Founders severely limited the right to
bear arms, excluding from its protection a broad range of often non-violent individuals
and groups deemed ‘dangerous.’” United States v. Pruess, 703 F.3d 242, 246 n.3 (4th

Cir. 2012).

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The right to bear arms is analogous to certain civic rights historically subject to

forfeiture by individuals convicted of crimes. Felons were generally excluded from

2 service on juries in eighteenth-century America. See Brian C. Kalt, The Exclusion of
Felons From Jury Service, 53 Am. Univ. L. Rev. 65, 179 (2003). They were also
generally excluded from voting. “[E]leven state constitutions adopted between 1776 and
1821 prohibited or authorized the legislature to prohibit exercise of the franchise by
convicted felons.” Green v. Bd. of Elections of City of N.Y., 380 F.2d 445, 450 (2d Cir.
1967). Just as historical laws required persons convicted of felonies to forfeit civic
rights, Section 922(g)(1) permissibly imposes a firearms disability “as a legitimate
consequence of a felony conviction.” Tyler y. Hillsdale County Sheriff's Dep't, 837 F.3d
678, 708 (6th Cir. 2016) (en banc) (Sutton, J., concurring in most of the judgment).

Cc. Comparing these historical statutes to Section 922(g)(1)
confirms that it is constitutional.

Both types of historical statutes discussed above demonstrate Section 922(g)(1)’s
constitutionality. Bruen recognized that “[t]he regulatory challenges posed by firearms
today are not always the same as those that preoccupied the Founders in 1791.” Bruen,
142 S. Ct. at 2132. Bruen identified two relevant metrics for this analogical inquiry:
“how and why the regulations burden a law-abiding citizen’s right to armed self-
defense.” /d. at 2133. Put another way, the “central considerations” are “whether
modern and historical regulations impose a comparable burden on the right of armed self-
defense and whether that burden is comparably justified.” /d. (emphasis and quotations

omitted).

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Under the first metric, Section 922(g)(1) imposes vo “burden [on] a law-abiding
citizen’s right to armed self-defense.” Bruen, 142 S. Ct. at 2133. “[C]onviction ofa
felony necessarily removes one from the class of ‘law-abiding, responsible citizens’ for
the purposes of the Second Amendment.” Hamilton v. Pallozzi, 848 F.3d 614, 626 (4th
Cir. 2017). Moreover, the burden imposed on the felon’s rights is comparable to
historical laws disarming the untrustworthy and /ess severe than many historical
felony-punishment laws, which often included the death penalty and forfeiture of one’s
entire estate.

Furthermore, the modern and historical laws are “comparably justified.” Bruen,
142 S. Ct. at 2133. The historical laws sought to adequately punish felons and deter re-
offending, as well as to protect society from the untrustworthy. Section 922(g)(1) serves
amore limited but equally justified purpose. It seeks to protect society from gun violence
committed by felons, who have previously shown disregard for society’s laws and are
more likely to reoffend, potentially in dangerous ways.

Robinson contends that Section 922(g)(1) is inconsistent with the nation’s history
of firearm regulation because it purportedly has no analog prior to the 20th Century.
(Dkt. No. 45 at 4.) But his argument misunderstands Bruen’s historical inquiry. Bruen
emphasized that the government need only identify a “historical analogue, not a
historical twin.” Bruen, 142 S. Ct. at 2133. As explained above, Section 922(g)(1) and
the historical laws are “relevantly similar,” id. at 2132, because they imposed severe
consequences on the commission of a felony and authorized legislatures to disarm

untrustworthy people. Indeed, the Eighth Circuit found that “[I]egislatures historically

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prohibited possession by categories of persons based on a conclusion that the category as
a whole presented an unacceptable risk of danger if armed” and that “Congress enacted
an analogous prohibition in § 922(g)(1) to address modern conditions.” Jackson, 2023
WL 3769242 at *6.

Moreover, the lack of an identical historical statute does not suggest that the
founding generation would have viewed Section 922(g)(1) as violating the Second
Amendment. As one district court recently observed, a “list of the laws that happened to
exist in the founding era is .. . not the same thing as an exhaustive account of what laws
would have been theoretically believed to be permissible by an individual sharing the
original public understanding of the Constitution.” United States v. Kelly, No. 3:22-CR-
37, 2022 WL 17336578, at *2 (M.D. Tenn. Nov. 16, 2022). Founding-era legislatures
cannot be presumed to have legislated to the full limits of their constitutional authority.
In sum, Section 922(g)(1) is consistent with the Nation’s historical tradition of firearm
regulation. Therefore, this Court should reject Robinson’s argument that Section

922(g)(1) is unconstitutional on its face.

CONCLUSION

Robinson’s motion relies on two arguments that are foreclosed. The motion to
dismiss the indictment should be denied.
Respectfully submitted,

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United States Attorney

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CERTIFICATE OF SERVICE

I certify that on June 12, 2023, I electronically filed this response with the clerk of
court for the U.S. District Court, Northern District of Texas. The electronic case filing
system sent a “Notice of Electronic Filing” to the following attorney of record who has
consented in writing to accept this Notice as service of this document by electronic
means: Kambira Jones Morgan.

/s/ Ryan P. Niedermair

Ryan P. Niedermair
Assistant United States Attorney

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